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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


 ANITA TEKMEN,
                                                      No. 1:18-cv-01304-AJT-MSN


        Plaintiff,
 v.
 RELIANCE STANDARD LIFE
 INSURANCE COMPANY,


        Defendant.




        NOTICE OF SETTLEMENT OF PLAINTIFF/APPELLEE’S MOTION FOR
                              ATTORNEYS’ FEES AND COSTS


        Notice is hereby given that the parties have reached a settlement of plaintiff’s Motion for

 Attorneys’ Fees and Costs in this matter.

 Executed at Northridge, California on April 11, 2023.


                                                      /s/ Glenn R. Kantor _____________
                                                      Glenn R. Kantor

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